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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW HAMPSHIRE



USA

        v.                          Criminal No. 10-cr-53-02-JD

Joseph Glazier



                                    ORDER

     Re: Document No. 30, Motion for Services Other Than Counsel
- copy service

     Ruling: Counsel agreed to unseal this motion. The matter was
taken up at hearing with government and all defense counsel. It
was agreed that the government would provide defense counsel with
any index it may have to the documents and with a “hot list” of
documents that the government might offer into evidence, with the
understanding that the government would not be bound by this list.
This is a preliminary approach to trying to address approximately
17,000 pages of discovery. The Court reserved to all counsel the
right to file additional motions relating to these documents. The
government also offered to look into whether a laptop containing
the documents could be made available to counsel.


                                            /s/ Joseph A. DiClerico, Jr.
                                            Joseph A. DiClerico, Jr.
                                            U.S. District Judge

Date:    September 29, 2010

cc:   Counsel of Record
